Case 2:03-cv-02846-SHI\/|-dkv Document 24 Filed 08/22/05 Page 1 of 4 Page|D 39

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IN THE UNITED sTATEs DISTRICT coURT -~. o
FoR THE wEsTERN DISTRICT 0F TENNESSEE 95411(; 2 'c'
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BERTHA HERMAN, ’@ 9 t,'»l}:;p€Obs;r
Plaimiff, cAsE No. 03-2846-Mav

VS

FIRST TENNESSEE NATIONAL CORPORATION
afk/a FIRST TENNESSEE BANK ASSOCLATION,

Defendant.

 

CONSENT ORDER OF DISMISSAL

 

The parties hereto having resolved this matter and agreed that the Court should enter an
order and judgment dismissing this case with prejudice, it is HEREBY ORDERED,
ADJUDGED AND DECREED that this matter is hereby dismissed with prejudice, With each

party to bear its own costs and attorneys’ fees.

so 0RDERED nus°'°‘&day of 'i':j""' L ,2005.

UN]TED STATES DISTRICT JUDGE \

 

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Case 2:03-cv-02846-SHI\/|-dkv Document 24 Filed 08/22/05 Page 2 of 4 Page|D 40

Agreed to: n

 

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Case 2:03-cv-O2846-SHI\/|-dkv Document 24 Filed 08/22/05 Page 3 of 4 Page|D 41

CERTIFICATE OF SERVICE

l hereby certify that I have this 18th day of August 2005, caused to be sent via United
State Mail, postage prepaid, a true and correct copy of the foregoing CONSENT ORDER OF
DISMISSAL to:

Jack L. Halliburton, Esq.

TAYLOR, HALLIBURTON & LEDBETTER
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Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:03-CV-02846 was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

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Honorable Samuel Mays
US DISTRICT COURT

